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                                ELECTRONICALLY FILED

                           UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF KENTUCKY
                                LOUISVILLE DIVISION

 TAMMY FRANCE,                                 )
                                               )
         Plaintiff,                            )
                                               )
 v.                                            )
                                               )
 CAITO FOODS, LLC,                             )
 850 76th Street SW                            )
 Byron Center, MI 49315                        )
                                               ) CIVIL ACTION NO.
 Serve: Corporation Service Company            )
        421 West Main Street                      3:19-CV-283-JHM
                                               ) __________________
        Frankfort, KY 4060                     )
                                               )
 -and-                                         )
                                               )
 THE KROGER CO.                                )
 1014 Vine Street                              )
 Cincinnati, OH 45202-1100                     )
                                               )
 Serve: Corporation Service Company            )
        421 West Main Street                   )
        Frankfort, KY 4060                     )
                                               )
         Defendants                            )


                                       COMPLAINT

                                    ************
      Comes the Plaintiff, Tammy France, by and through her attorneys of record, The Lange Law

Firm, PLLC and The Poppe Law Firm, and for her causes of action against Defendants herein,

states as follows:
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                                             I. PARTIES

1.      At all times relevant hereto, Plaintiff was a resident of Louisville, Jefferson County.

Kentucky.

2.      Caito Foods, LLC (“Caito Foods”) is a corporation organized and existing under the laws

of the State of Michigan with its principal place of business in Indiana. At all times relevant

hereto and upon information and belief, Caito Foods is a manufacturer, distributor and seller of

agricultural products for sale in Kentucky, including pre-cut melons and melon mixes. Caito

Foods distributes its food products, including pre-cut melons and melon mixes, for sale at retail

locations in many states, including Kroger stores in Kentucky. Upon information and belief, Caito

Foods’ principal place of business is located at 3120 North Post Road Indianapolis, IN 46226.

3.      The Kroger Co. (“Kroger”) is a corporation organized and existing under the laws of the

State of Ohio. At all times relevant hereto and upon information and belief, Kroger distributes and

conducts business as a retailer of food items, including pre-cut melons and melon mixes in the

State of Kentucky. Upon information and belief, Kroger’s principal place of business is 1014 Vine

St., Cincinnati, OH 45202.

                                  II. JURISDICTION AND VENUE

4.      This Court has jurisdiction over the subject matter of this action pursuant to 28 USC §

1332(a) because the matter in controversy exceeds $75,000.00, exclusive of costs, it is between

citizens of different states, and because the defendants each have certain minimum contacts with

the State of Kentucky such that the maintenance of the suit in this district does not offend

traditional notions of fair play and substantial justice.

5.      Venue in the United States District Court for the Western District of Kentucky is proper

pursuant to 28 USC § 1391(b)(2) because a substantial part of the events or omissions giving rise



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to the plaintiff’s claims and causes of action occurred in this judicial district, and because the

defendants Caito Foods and Kroger were subject to personal jurisdiction in this judicial district at

the time of the commencement of the action.

                                            III. FACTS

A.     The 2019 Salmonella Outbreak Caused by Pre-Cut Melons Manufactured and
       Distributed by Caito Foods, LLC and Sold by Kroger

6.     On April 12, 2019, the Centers for Disease Control and Prevention (CDC) announced that

it was investigating a multi-state outbreak of Salmonella Carrau linked to Pre-Cut Melon. The

agency reported that, as of April 12, 2019, 93 people were confirmed to be infected with the

outbreak strain of Salmonella Carrau from nine states Alabama (1), Illinois (5), Indiana (18),

Kentucky (16), Michigan (19), Minnesota (3), Missouri (3), Ohio (27), and Wisconsin (1).

7.     Out of 53 people with information available, 23 (43%) have been hospitalized. No deaths

have been reported at this time.

8.     Illnesses started on dates ranging from March 4, 2019, to March 31, 2019.

9.     Ill people range in age from less than one to 98 years, with a median age of 53. Fifty-seven

percent are female. Illnesses that occurred after March 31, 2019, might not yet be reported due to

the time it takes between when a person becomes ill and when the illness is reported. This takes

an average of 2 to 4 weeks.

10.    In its April 12, 2019 announcement, the CDC stated that Epidemiologic and preliminary

traceback evidence indicates that pre-cut melon supplied by the Caito Foods, LLC of Indianapolis,

Indiana is a likely source of this multistate outbreak. In its initial interviews, the CDC noted that

30 (77%) of 39 people interviewed reported eating pre-cut melons purchased from grocery stores,

including pre-cut cantaloupe, watermelon, honeydew, or a fruit salad mix or fruit tray with melon.

Four additional people reported eating pre-cut melon outside the home.


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11.       The CDC confirmed that information collected from stores where ill people shopped

indicates that Caito Foods, LLC supplied pre-cut melon to these stores.

12.       On the same day as the CDC announcement, Caito Foods, LLC issued a recall of fresh cut

watermelon, honeydew melon, cantaloupe, and fresh-cut fruit medley products containing one of

these melons produced at the Caito Foods facility in Indianapolis, Indiana.

13.       Recalled products were distributed to Illinois, Indiana, Iowa, Kansas, Kentucky, Michigan,

Minnesota, Missouri, Nebraska, New York, North Carolina, Ohio, Pennsylvania, Tennessee, West

Virginia, and Wisconsin, and were sold in clear, plastic clamshell containers at Kroger, Target,

Trader Joes, Walmart, and Amazon/Whole Foods.

14.       The FDA’s investigation is ongoing to determine if products went to additional stores or

states.

15.       The FDA is currently working with state partners to trace back the pre-cut melons to

identify the source of the pathogen, to determine the full distribution of the pre-cut melons, and to

learn more about how the contamination occurred.

B.        Salmonella

16.       The term Salmonella refers to a group or family of bacteria that cause illness in humans.

Salmonella lives in the intestinal tracts of humans and other animals, including poultry. But the

type of Salmonella that may not make poultry sick can make humans very ill.

17.       Currently, the Centers for Disease Control and Prevention (CDC) recognize two species,

which are divided into six subspecies. These subspecies are divided into over 50 serogroups based

on somatic (O) antigens present.

18.       The most common Salmonella serogroups are A, B, C, D, E, F, and G. Serogroups are

further divided into over 2,500 serotypes. Salmonella serotypes are typically identified through a



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series of tests of antigenic formulas listed in a document called the Kauffmann-White Scheme

published by the World Health Organization Collaborating Centre for Reference and Research on

Salmonella.

19.        Salmonella bacteria are typically transmitted to humans by food or water contaminated

with feces. Such foods usually look and smell normal. Nothing about the products look, taste, or

smell would warn a consumer that it was contaminated with Salmonella bacteria.

20.        After exposure, Salmonella bacteria travel to the lumen of the small intestines, then

penetrate the epithelium, multiply, and enter the blood. This infection processalso referred to as

the incubation periodusually takes 6 to 72 hours for the onset of symptoms. According to the

CDC, as little as one cell of Salmonella bacteria can cause infection.

21.        The acute symptoms of Salmonella gastroenteritis (or Salmonellosis) include nausea,

vomiting, diarrhea, fever, abdominal cramping and/or stomach pain, headache, dysuria, muscle

pain, fatigue, and dehydration.

22.        Doctors typically treat the symptoms of Salmonellosis with anti-nausea or anti-diarrhea

medications. Some physicians may prescribe antibiotics. Many severe cases may require

intravenous fluids for treatment of dehydration, usually in an emergency room or urgent-care

setting.

23.        Salmonella infections may also cause long-term side-effects, such as Reactive Arthritis

(RA), Septicemia, Bacteremia, chronic gallbladder infection, and Irritable Bowel Syndrome (IBS)

can develop, requiring extensive ongoing medical treatment and care. The elderly, infants, and

those with compromised immune systems are more likely to experience severe illness and long-

term complications from exposure to Salmonella bacteria. Salmonella infections can be fatal.

C.         Tammy France’s Salmonella Infection Following Her Exposure to Salmonella-
           Contaminated Pre-Cut Melon Manufactured and Distributed by Caito Foods, LLC


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          and Sold by Kroger

24.       On or about March 22, 2019, Tammy purchased a container of pre-cut melon from Kroger

in Louisville, Kentucky.

25.       Tammy consumed pre-cut melon on multiple occasions from the date of purchase until

her illness.

26.       On or about March 23, 2019, Tammy fell ill with diarrhea, vomiting, and abdominal

pain. Soon after reporting to the emergency room, Tammy was admitted into the hospital.

27.       Tammy continues to recover and face uncertain future medical complications.

                                     IV. CAUSES OF ACTION

                                          COUNT I
                                 STRICT PRODUCT LIABILITY

28.       Defendants manufactured, distributed, and sold the adulterated food that injured Plaintiff.

29.       Defendants manufactured food products, and in particular, pre-cut melon for sale to the

public.

30.       Melon that is contaminated with Salmonella is unsafe and thus defective when used in a

reasonably foreseeable manner—i.e., eating it.

31.       Salmonella-contaminated melon is unfit for human consumption, and unreasonably

dangerous to an extent beyond that contemplated by the ordinary consumer.

32.       The pre-cut melon that Plaintiff purchased and consumed from Defendants was

contaminated with Salmonella and was therefore, as a result, defective and unreasonably

dangerous.

33.       The melon Plaintiff purchased and consumed was contaminated with Salmonella when

it left Defendants’ control.




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34.    Plaintiff’s consumption of the contaminated pre-cut melon caused them to become

infected with Salmonella and suffer injury, as a direct and proximate result.

35.    Defendants are strictly liable to Plaintiff for the harm proximately caused by the

manufacture, distribution, and sale of an unsafe and defective melon products.

                                       COUNT II
                                  BREACH OF WARRANTY

36.    By offering melon for sale to the general public, Defendants impliedly warranted that

such melon was safe to eat, that it was not adulterated with a deadly pathogen, and that the melon

had been safely prepared under sanitary conditions.

37.    Defendants breached the implied warranties with regard to the food and drink they

manufactured, distributed, and sold to Plaintiff.

38.    Plaintiff’s injuries proximately and directly resulted from Defendants’ breach

of implied warranties, and Plaintiff is thus entitled to recover for all actual, consequential, and

incidental damages that flow directly and in a foreseeable fashion from these breaches.

                                        COUNT III
                                    NEGLIGENCE PER SE

39.    Defendants had a duty to comply with all applicable state and federal regulations intended

to ensure the purity and safety of its food product, including, but not limited to, the requirements

of the Federal Food, Drug and Cosmetics Act, 21 U.S.C. § 301 et seq.

40.    Defendants failed to comply with the provisions of the health and safety acts identified

above, and, as a result, was negligent per se in its manufacture, production, distribution, and/or

sale of food adulterated with Salmonella, a deadly pathogen.

41.    As a direct and proximate result of conduct by the Defendants that was negligent per se,

Plaintiff sustained injuries and damages.



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                                          COUNT IV
                                         NEGLIGENCE

42.     Defendants designed, manufactured, distributed, and sold food products, including

specifically pre-cut melon, that were contaminated with Salmonella, a deadly pathogen. The

melon, as a result of contamination, were unfit for human consumption, thus defective, and were

not reasonably safe as designed, constructed, manufactured, distributed, and sold.

43.    Defendants owed a duty to all persons who consumed their products to manufacture,

distribute, and sell melon that were safe to eat, that were not adulterated with deadly pathogens,

like Salmonella, and that were not in violation of applicable food and safety regulations.

44.    Defendants owed a duty to all persons who consumed their products a duty to maintain

their premises in a sanitary and safe condition so that the melon they manufactured, distributed,

and sold would not be contaminated with a deadly pathogen, like Salmonella.

45.    Defendants breached the duties owed to their customers by committing the following acts

and omissions of negligence:

       a. Failed to adequately maintain or monitor the sanitary conditions of their products,
          premises, and employees;

       b. Failed to properly operate their facilities in a safe, clean, and sanitary manner;

       c. Failed to apply their food safety policies and procedures to ensure the safety and
          sanitary conditions of their food products, premises, and employees;

       d. Failed to prevent the transmission of Salmonella to consumers of their melon;

       e. Failed to properly train their employees and agents how to prevent the transmission of
          Salmonella on their premises, or in their food products;

       f. Failed to properly supervise their employees and agents to prevent the transmission of
          Salmonella on their premises, or in their food products.

46.    Defendants had a duty to comply with all statutory and regulatory provisions that pertained

or applied to the manufacture, distribution, storage, labeling, and sale of their food products.


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47.     Defendants owed a       duty       to     Plaintiff to use reasonable care in the   manufacture,

distribution,   and    sale   of   their        food   products,   to   prevent    contamination   with

Salmonella. Defendants breached this duty.

48.     Plaintiff’s injuries proximately and directly resulted from Defendants’ negligence.

                                                V. DAMAGES

49.     As the direct and proximate result of Defendants’ acts and omissions, Plaintiff suffered

ordinary, incidental, and consequential damages as would be anticipated to arise under the

circumstances, which shall be fully proven at the time of trial.

                                   VI. PRAYER FOR RELIEF

      WHEREFORE, Plaintiff prays as follows:

        1) That the court award Plaintiff judgment against Defendants for damages in an amount
           in excess of $75,000.

        2) That the court additional award all such other sums as shall be determined to fully and
           fairly compensate Plaintiff for all general, special, incidental and consequential
           damages incurred, or to be incurred, by Plaintiff as the direct and proximate result of
           the acts and omissions of Defendants;

        3) That the court award Plaintiff her costs, disbursements, and reasonable attorneys’ fees
           incurred;

        4) That the court award Plaintiff the opportunity to amend or modify the provisions of this
           complaint as necessary or appropriate after additional or further discovery is completed
           in this matter, and after all appropriate parties have been served; and

        5) That the court award such other and further relief as it deems necessary and proper in
           the circumstances.

        6) A trial by jury on all issues so triable.

As to Complaint                                    Respectfully submitted,
France v. Caito Foods, LLC
and The Kroger Co.
                                                   /s/Hans G. Poppe
                                                   Hans G. Poppe
                                                   Kirk A. Laughlin


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